Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 1of13 PagelD #: 379

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF WEST VIRGINIA
AT BECKLEY

MOUNTAIN VALLEY PIPELINE, LLC,

Plaintiff,
V. CIVIL ACTION NO 5:23-CV-00625

MELINDA ANN TUHUS, and
ROSE ZHENG ABRAMOFF

Defendants.

SUPPLEMENTAL MEMORANDUM OF LAW
IN SUPPORT OF MOTION TO DISMISS

With the consent of Plaintiff Mountain Valley Pipeline, LLC (“MVP”),
Defendants Melinda Ann Tuhus (“Tuhus”) and Rose Zheng Abramoff
(“Abramoff”) hereby amend their previously-filed Motion to Dismiss (ECF Doc.
14)' and Supporting Memorandum (ECF Doc. 15) to include the following
supplemental grounds, to be incorporated by reference into said Motion and

Memorandum.

Introduction”

Three of the “counts” MVP asserts are not legally cognizable causes of

action under West Virginia law. With respect to the other four, MVP invokes

" As MVP has previously acknowledged, while styled as a “Motion for Abstention” this pleading
is, in substance, a Motion to Dismiss. The previously-filed Motion to Dismiss/Motion for
Abstention remains pending. Defendants advance the grounds herein to the to the extent this
Court declines to dismiss the complaints on the abstention grounds previously set forth.

? The arguments contained within are largely identical in substance as applied to Tuhus and
Abramoff, who face separate but largely identical complaints. Unless otherwise noted, all
arguments within apply equally to each Defendant.

1
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 2 of 13 PagelD #: 380

inapplicable legal theories, makes no factual allegations that, if true, would be
sufficient to warrant relief, and thus fails to state a claim upon which relief can be
granted. Dismissal at this Rule 12 Stage is therefore appropriate.
Factual Background’
MVP “is a natural gas company holding a certificate from the Federal
Energy Regulatory Commission (“FERC”) to construct and operate a new natural

gas pipeline from Wetzel County, West Virginia to Pittsylvania County, Virginia.”

(Tuhus Compl., ECF Doc. 1, { 1) (‘Tuhus Compl.”).4 MVP alleges that “[t]hrough
voluntary agreements with property owners, MVP has acquired temporary and
permanent casements to construct and operate the pipeline on the land at issue
(“Subject Property”).” (id. 11.) MVP alleges that Defendants are opposed to the
Project [defined as “a natural gas pipeline to be used for interstate commerce . . .
being constructed through Summers County, West Virginia”] and [have]
collaborated, combined, and agreed to work to delay or stop the project by
unlawful means.” (Jd. ¥ 12.)

With respect to Tuhus, MVP alleges that “[s]pecifically, [Tuhus] unlawfully
obstructed access to the Subject Property by physically blocking the roadway to

prevent MVP’s operation and delay work.” (Id. § 13.)

> While Defendants assume arguendo that the allegations set forth in the Complaint are true for
the limited purpose of this Motion, they does not otherwise concede or stipulate to the allegations
in the Complaint.

* Unless otherwise noted, all portions of the Tuhus complaint cited within are mirrored
identically at the same paragraph of the separate complaint against Abramoff.
2
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 3 of 13 PagelD #: 381

With respect to Abramoff, MVP alleges that “[s]}pecifically, [Abramoff]
unlawfully attached herself to equipment, placing her in dangerous proximity to
the equipment, in order to prevent its operation and delay work.” (Abramoff

Compl., Case 5:23-cv-00626, ECF Doc. 1, 13) (‘Abramoff Compl.”).

The only non-conclusory allegations in the Complaint regarding any alleged
damages are that “Defendant has caused damage to MVP in salaries, wages, and
other expenses incurred through delay of the project in the amount of at least

$45,629.50.” (Tuhus Compl., | 32; Abramoff Compl., q 38.)

MVP’s claims against Tuhus are for preliminary injunction (Count One)

(Tuhus Compl, §f 14-23), permanent injunction (Count Two) (id. §¥ 24-26),
tortious interference (Count Three) (id. J] 27-32), violation of W. VA. CODE § 61-
10-34 (Count Four) (id. {¥ 33-39), civil conspiracy (Count Five) (id. ¥ 40-43),
and punitive damages (Count Six) (id. J] 44-47).

MVP’s claims against Abramoff are for preliminary injunction (Count One)

(Abramoff Compl., {| 14-23), permanent injunction (Count Two) (id. 9] 24-26),

trespass (Count Three) (id. §{ 27-32), tortious interference (Count Four) (id.
T{ 33-38), violation of W. VA. CODE § 61-10-34 (Count Five) (id. JJ 39-45), civil
conspiracy (Count Six) (id. §¥ 46-49), and punitive damages (Count Seven) (id.
{{ 50-53).

The complaints against Tuhus and Abramoff are largely identical, but for
distinct factual allegations set forth in paragraphs 13 of the respective complaints,

and the addition of a trespass claim in the complaint against Abramoff.

3
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 4 of 13 PagelD #: 382

Argument

I. Standard.

The standard applicable to a FED. R. Civ. P. 12(b)(6) motion to dismiss is set
forth in Cozmyk v. Prompt Recovery Servs., Inc., 851 F. Supp. 2d 991, 992-93
(S.D. W. Va. 2012):

A motion to dismiss fil[Jed under Rule 12(b)(6) tests the legal
sufficiency of a complaint or pleading. Giarratano v. Johnson, 521 F.3d
298, 302 (4th Cir. 2008). Federal Rule of Civil Procedure 8 requires
that a pleading contain a “short and plain statement of the claim
showing that the pleader is entitled to relief.” FED. R. Civ. P. 8. As the
Supreme Court reiterated in Ashcroft v. Iqbal, that standard “does not
require ‘detailed factual allegations’ but ‘it demands more than an
unadorned, the-defendant-unlawfully-harmed-me accusation.’” 556
US. 662, 129 S. Ct. 1937, 1949, 173 L. Ed. 2d 868 (2009) (quoting Bell
Atl. Corp. v. Twombly, 550 U.S. 544, 555, 127 S. Ct. 1955, 167 L. Ed.
2d 929 (2007)). “{A] plaintiff's obligation to provide the ‘grounds’ of
his ‘entitle[ment] to relief requires more than labels and conclusions,
and a formulaic recitation of the elements of a cause of action will not
do.[’]” Twombly, 550 U.S. at 555 (citing Papasan v. Allain, 478 U.S.
265, 286, 106 S. Ct. 2932, 92 L. Ed. 2d 209 (1986) for the proposition
that “on a motion to dismiss, courts ‘are not bound to accept as true a
legal conclusion couched as a factual allegation’”). A court cannot
accept as true legal conclusions in a complaint that merely recite the
elements of a cause of action supported by conclusory
statements. Iqbal, 129 S. Ct. at 1949-50. “To survive a motion to
dismiss, a complaint must contain sufficient factual matter, accepted as
true, to ‘state a claim to relief that is plausible on its face.’” Id. at
1949 (quoting Twombly, 550 U.S. at 570). To achieve facial
plausibility, the plaintiff must plead facts that allow the court to draw
the reasonable inference that the defendant is liable, and those facts
must be more than merely consistent with the defendant’s liability to
raise a claim from merely possible to probable. Jd.

In determining whether a plausible claim exists, the court must
undertake a context-specific inquiry, “[b]ut where the well-pleaded
facts do not permit the court to infer more than the mere possibility of
misconduct, the complaint has alleged—but it has not ‘show[n]’—‘that

4
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 5 of 13 PagelD #: 383

the pleader is entitled to relief.’” Id. at 1950 (quoting FED. R. Civ.

P. 8(a)(2)). A complaint must contain enough facts to “nudge[] [a]

claim across the line from conceivable to plausible.” Twombly, 550

U.S. at 570.

Il. MVP?’s claims for preliminary and permanent injunction are
appropriately dismissed because they are not independent
causes of action.

Injunctive relief is a remedy; it is not an independent cause of action.
Cunningham Energy, LLC v. Vesta O & G Holdings, LLC, 578 F. Supp. 3d 798, 819
(S.D. W. Va. 2022) (holding that “[r]equests for injunctive relief do not constitute
independent causes of action; rather, the injunction is merely the remedy sought for
the legal wrongs alleged in the substantive counts”; dismissing causes of action for
injunctive relief); see also Williams v. Rigg, No. 3:19-cv-00423, 2021 WL
4129592, at *3 (S.D. W. Va. Sept. 9, 2021) (dismissing claim for injunctive relief
after plaintiff declined to respond to defendant’s argument “that injunctive relief is
a remedy and not an independent cause of action”). MVP’s “claims” for injunctive
relief (Counts One and Two) are appropriately dismissed for this reason.

III. MVP?’s trespass claim fails both because MVP had no right to
exclude Abramoff from the Subject Property and because MVP
has failed to plead damages to property.”

MVP’s Complaint fails to state a claim for Trespass because 1) MVP has no

possessory interest in the Subject Property at issue and no right to exclude

Abramoff, and 2) MVP has not alleged any damage to property.°

> MVP brings no trespass claim against Tuhus.

° To the extent MVP seeks to rely on Abramoff’s attachment to equipment as a basis for the
trespass claim, this argument fails, among other reasons, because the Complaint does not allege
5
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 6 of 13 PagelD #: 384

Under West Virginia law, a trespass is “‘an entry on another man’s ground
without lawful authority, and doing some damage, however inconsiderable, to his
real property.’” Barker v. Naik, No. 2:17-cv-04387, 2018 WL 3824376, at *4 (S.D.
W. Va. Aug. 10, 2018) (quoting Hark v. Mountain Fork Lumber Co., 34 S.E.2d
348, 352 (W. Va. 1945)); see also, e.g., Bailes v. Tallamy, No. 21-1008, 2023 WL
2785792, at *3 (W. Va. Apr. 5, 2023) (quoting EOT Prod. Co. v. Crowder, 241 W.
Va. 738, 828 S.E.2d 800 (2019)).

Further, ““[A]n invasion must constitute an interference with possession in
order to be actionable as a trespass.””” Barker, 2018 WL 3824376, at *4 (quoting
Rhodes v. E.I. Du Pont de Nemours & Co., 657 F. Supp. 2d 751, 771 (S.D. W. Va.
2009) (quoting W. PAGE KEETON ET AL., PROSSER AND KEETON ON THE LAW OF
Torts § 13 at 70 (Sth ed. 1984)).

MVP alleges, as its trespass claim, that “MVP has specific rights otherwise
outlined in this Complaint and Defendant does not own or have interest in the

Subject Property.” (Abramoff Compl., { 28.) These “specific rights” are alleged by

MVP as follows: “Through voluntary agreements with property owners, MVP has
acquired temporary and permanent easements to construct and operate the pipeline

on the land at issue (“Subject Property”).” Ud. § 11.)

that MVP has any ownership or possessory interest in the equipment at issue. It is not clear from
the face of the Complaint that MVP relies on Abramoff’s attachment to equipment to support its
trespass claim; thus, Abramoff reserves the right to present further argument on this issue should
MVP clarify in its Response that it is purporting to assert a claim for trespass to the equipment
itself and not merely the Subject Property. See Abramoff Compl., J] 27-32.

6

Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 7 of 13 PagelD #: 385

“With respect to easements, [the West Virginia Supreme Court of Appeals]
has previously stated that ‘an easement may be defined as the right one person has
to use the lands of another for a specific purpose.” Quintain Dev., LLC v. Columbia
Nat. Res., Inc., 556 S.E.2d 95, 135 (W. Va. 2001) (quoting Kelly v. Rainelle Coal
Co., 64 S.E.2d 606, 613 (W. Va. 1951), overruled in part on other grounds by
Kimball v. Walden, 301 S.E.2d 210 (W. Va. 1983)). The right created by an
easement is “nonpossessory.” Jd. (quoting RESTATEMENT (THIRD) PROPERTY
§ 1.2(1) (2000)); see also United States Forest Service v. Cowpasture River
Preservation Association, 590 U.S. 604, 613, 140 S. Ct. 1837, 1844 (2020)
(“easements grant only nonpossessory rights of use limited to the purposes
specified in the easement agreement’).

As trespass is interference “with possession,” Barker, 2018 WL 3824376, at
*4 (quoting Rhodes, 657 F. Supp. 2d at 771 (quoting W. PAGE KEETON ETAL., § 13
at 70)), and the right created by an easement is “nonpossessory,” Quintain Dev.,
356 S.E.2d at 135 (quoting RESTATEMENT (THIRD) PROPERTY § 1.2(1)), MVP’s
allegations that it has easement rights with respect to the Subject Property cannot
form the basis for a trespass claim.

Additionally, MVP fails to allege any damages to property resulting from
any alleged trespass. This, too, is fatal to the trespass claim and an additional,
independent reason why dismissal is appropriate. See Meeks v. McClung, No. 2:20-
ev-00583, 2021 WL 3630526, at *7 (S.D. W. Va. May 3, 2021) (recommending

court grant motion to dismiss trespass claims brought under West Virginia law

7
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 8 of 13 PagelD #: 386

because “assuming, as Plaintiff implies, that [Defendants] came onto his property
without lawful authority after he moved the vehicle that was the subject of the
parking complaint, he has not alleged that they damaged his real property in any
manner’), adopted by 2021 WL 3013361 (S.D. W. Va. July 16, 2021).

Meeks involved warrantless entry onto commercial property by city code
enforcement officials who, after entering the property, allegedly “unlawfully
searched [the plaintiff’s] property, collected evidence, and took photographs.” Jd.
at *1. Although the Court found these allegations to be sufficient to state a claim
for relief under 42 U.S.C. § 1983 based on Fourth Amendment violations, the
allegations failed to state a claim for trespass because they did not sufficiently
allege the essential element of damage to property. Id. at *3-4, *7. Whereas in
Meeks, the defendant city code enforcement officials were alleged to have entered,
investigated, taken evidence from, and photographed the plaintiff’s property
without permission, yet the complaint did not sufficiently allege damages, here
MVP does not even attempt to allege damage to any property. MVP’s trespass

claim fails for this additional reason.’

7 While Moore v. Equitrans, L.P., 27 F. 4th 211, 220-21 (4th Cir. 2022) indicates that West
Virginia law allows for the recovery for “damages for loss of use” — including lost profits — in a
trespass action, the availability of damages for lost profits in a proper trespass action does not
alter the elements of trespass. See id. at 220 (quoting Brooks v. City of Huntington, 234 W. Va.
607, 768 S.E.2d 97, 105-06 (2014)) (“when residential property is damaged, the owner may
recover the reasonable cost of repairing it” as well as additional costs associated with the
damage) (emphasis added).

Further, Bethlehem Steel Corp. v. Shonk Land Co., 169 W. Va. 310, 288 S.E.2d 139 (1982),

which addresses holdover damages that may accrue when a lessee remains on private property

following termination of a tenancy, does not help MVP here. As Judge Kleeh recently recognized

in a case in the Northern District, in West Virginia, an action to recover damages in the case of a
8
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 9 of 13 PagelD #: 387

IV. MVP’s tortious-interference claim fails because MVP does not
allege interference with any relationship.

A plaintiff alleging tortious interference must plead interference with a
“business relationship.” DEB Enter. LLC v. Kanawha Stone Co., No. 2:22-cv-
00046, 2022 WL 2679457, at *3-4 (S.D. W. Va. July 11, 2022) (citing Talbot 2002
Underwriting Cap., Ltd. v. Old White Charities, Inc., No. 5:15-cv-12542, 2016 WL
3162135, at *6 (S.D. W. Va. June 3, 2016) (dismissing tortious-interference claim
for failure to sufficiently allege intentional interference with business relationship);
see also King v. Teays Valley Health Servs., Inc., No. 2:05-cv-00463, 2006 WL
297719, at *3 (S.D. W. Va. Feb. 7, 2006) (noting that “to state a claim for tortious
interference, [plaintiff] must allege that [defendant] interfered in a contractual
relationship between [plaintiff] and a third party” and concluding that plaintiff
failed to plead interference with relationship with a third party). The plaintiff in
King alleged that the defendant improperly stripped him of his general orthopedic
privileges. 2006 WL 297719, at *2. The complaint in King, however, like MVP’s
complaint, failed to allege any interference by the defendant with any third-party
relationship (such as with the plaintiff’s clients), and the Court appropriately
dismissed the tortious-interference claim. Jd. at *3-4.

MVP alleges only that it “has a contractual and business expectancy for the

construction of the Project” and that Defendants “intentionally and knowingly

holdover tenancy properly sounds in a claim for breach of contract, not trespass. See Big Brother
& Holding Co., LLC v. Certified Pressure Testing, LLC, No. 2:20-CV-41, 2022 WL 16857330,
at *2-3 (N.D. W. Va. Nov. 10, 2022).

9
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 10 of 13 PagelD #: 388

interfered with MVP’s ability to construct the Project” and “cause[d] delays to the

Project.” (Tuhus Compl., ff 29-31; Abramoff Compl., {{ 35-37.) MVP pleads no

facts to suggest that any contractual or other business relationship was breached or
lost as a result of the brief protest at issue in this case.

Read generously to MVP, the Complaint alleges that MVP was hindered in
its contractual obligations with unspecified third parties by Defendants, who are
alleged to have obstructed construction of the pipeline for an unspecified period of
time’, thus making performance of MVP’s unspecified contractual obligations
more burdensome or expensive due to that delay. But as a matter of West Virginia
state law, MVP cannot sustain a cause of action for tortious interference on this
basis. See Webb v. Paine, 515 F. Supp. 3d 466, 485-87 (S.D. W. Va. 2021) (wherein
Judge Copenhaver carefully considered, and rejected, the plaintiff’s argument that
a claim for tortious interference in West Virginia can rest solely upon an action that
makes “performance of the contract more burdensome or expensive” as opposed to
an action that “induce[s] or cause[s] the third party to not perform or to breach the
contract with plaintiff’). Its tortious-interference claim consequently fails.

V. MVP’s W. VA. Cone § 61-10-34 fails because MVP does not
allege damage to real or personal property.

W. VA. CODE § 61-10-34(d)(1) provides that “[a]ny person who is arrested

for or convicted of an offense under this section may be held civilly liable for any

8 Exhibit A to the Complaint, to the extent it is accurate, suggests that work was stopped for
approximately five hours as a result of the protest at issue. See ECF Doc. 1-1, p. 10 [of 14-page
PDF]. The Complaint itself contains no such allegation.

10
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 11 of 13 PagelD #: 389

damages to personal or real property while trespassing.” MVP does not allege any
“damages to personal or real property.” Its W. VA. CODE § 61-10-34 claim fails as a
result.

VI. MVP’s civil-conspiracy claim fails due to the absence of an
underlying tort.

“[C]ourts in West Virginia dismiss civil conspiracy claims when they are not
supported by an underlying tort.” Sheehan v. Saoud, 650 F. App’x 143, 153 (4th
Cir. 2016) (citing Long v. M & M Transp., LLC, 44 F. Supp. 3d 636, 652 (N.D. W.
Va. 2014)). As MVP’s underlying tort claims asserted against Defendants are all
appropriately dismissed, so, too, is MVP’s civil-conspiracy claim.

Vil. MVP’s claim for punitive damages is appropriately dismissed
because it is not independent cause of action.

“[U]nder West Virginia law, a separate cause of action for punitive damages
does not exist.” Slampak v. Nationwide Ins. Co. of Am., No. 5:18CV154 (STAMP),
2019 WL 3304814, at *5 (N.D. W. Va. July 23, 2019) (citing Cook v. Heck’s Inc.,
342 S.E.2d 453, 461 n.3 (W. Va. 1986)); see also Durbin v. Nationwide Mutual
Insurance Co., No. 5:18-CV-211, 2019 WL 1545671, at *1 n. 1 (N.D. W. Va. Apr.

9, 2019) (same). MVP’s “claim” for punitive damages (Counts Six and Seven of

° While this Court need do nothing more than conduct this straightforward analysis to dismiss the
§ 61-10-34 counts against Tuhus (Count Four) and Abramoff (Count Five), separately and
independently, the Complaint is insufficient because it fails to plead facts establishing that the
“Subject Property” contained a “critical infrastructure facility” within the meaning of § 61-10-

34(b).

11
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24

Tuhus and Abramoff’s complaints, respectively) is appropriately dismissed for this

reason.

CONCLUSION

For the foregoing reasons, Tuhus and Abramoff respectfully request that

their motion to dismiss be granted.

/s/ Jonathan Sidney

Jonathan Sidney

Pro Hac Vice

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12

Respectfully submitted,

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Page 12 of 13 PagelD #: 390
Case 5:23-cv-00625 Document 39-1 Filed 07/26/24 Page 13 of 13 PagelD #: 391

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MOUNTAIN VALLEY PIPELINE, LLC,
Plaintiff,
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MELINDA ANN TUHUS, and
ROSE ZHENG ABRAMOFF
Defendants.

CERTIFICATE OF SERVICE

I hereby certify that a copy of the foregoing pleading was filed electronically
with the Clerk of the Court, this 26" day of July, 2024, and thereby served on
Counsel for the Plaintiff as follows:

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13
